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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


                                                                       )
In re:                                                                 )     Chapter 11
                                                                       )
PES HOLDINGS,LLC,etal,^                                                )     Case No. 19-11626(KG)
                                                                       )
                                   Debtors.                            )    (Jointly Administered)
                                                                       )
                                                                       )     Re: Docket Nos. 464,520

                                                     Objection Deadline: November 27,2019 at 4:00 p.m.(ET)
                                              Rescheduled Hearing Date: December 11,2019 at 11:00 a.m.(ET)

  NOTICE OF RESCHEDULED HEARING REGARDING DEBTORS’ MOTION FOR
  ENTRY OF AN ORDER(I) APPROVING THE ADEQUACY OF INFORMATION IN
     THE DISCLOSURE STATEMENT,(II) APPROVING THE SOLICITATION
    AND NOTICE PROCEDURES,(III) APPROVING THE FORMS OF BALLOTS
   AND NOTICES IN CONNECTION THEREWITH,(IV)SCHEDULING CERTAIN
   DATES WITH RESPECT THERETO,AND(V)GRANTING RELATED RELIEF

TO:      (a)the U.S. Trustee;(b)the Committee;(c)the administrative agent under the Debtors’
         prepetition first lien term loan facility and counsel thereto; (d)the lenders under the
         Debtors’ prepetition first lien term loan facility and counsel thereto; (e) Merrill Lynch
         Commodities, Inc. and counsel thereto;(f) NGL Energy Partners LP and counsel thereto;
         (g)the lenders under the Debtors’ prepetition promissory note and counsel thereto;
         (h)counsel to ICBC Standard Bank Pic; (i) the lenders under the Debtors’ debtor-in-
         possession financing facility and counsel thereto; (j)the United States Attorney’s Office
         for the District of Delaware; (k)the Internal Revenue Service; (1) the state attorneys
         general for all states in which the Debtors conduct business; and (m)any party that has
         requested notice pursuant to Bankruptcy Rule 2002.

                 PLEASE TAKE NOTICE that on October 10, 2019, the above-captioned

debtors and debtors in possession (the “Debtors”), filed the Debtors' Motion for Entry of an

Order (I) Approving the Adequacy ofInformation in the Disclosure Statement, (II) Approving the

Solicitation and Notice Procedures, (III) Approving the Forms of Ballots and Notices in

Connection Therewith, (IV)Scheduling Certain Dates With Respect Thereto, and (V) Granting

    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: PES Holdings, LLC(8157); North Yard GP,LLC(5458); North Yard Logistics, L.P.(5952); PES
    Administrative Services, LLC (3022); PES Energy Inc.(0661); PES Intermediate, LLC (0074); PES Ultimate
    Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC(9574). The Debtors’
    service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.



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Related Relief(the “Motion”)[Docket No. 464] with the United States Bankruptcy Court for the

District of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 (the

“Bankruptcy Court”). A copy of the Motion was previously served upon you.^

                 PLEASE TAKE FURTHER NOTICE that pursuant to the notice attached to

the Motion, a hearing on the Motion was scheduled for November 14, 2019 at 10:00 a.m.

(Eastern time)(the “Flearing”) with objections due on or before November 7, 2019 at 4:00 p.m.

(Eastern time)(the “Objection Deadline”).

                 PLEASE TAKE FURTHER NOTICE that pursuant to the notice at Docket No.

520, the Objection Deadline was extended to November 27, 2019 at 4:00 p.m.(Eastern time) and

the Hearing on the Motion was rescheduled to December 9, 2019 at 2:00 p.m.(Eastern time).

                 PLEASE TAKE FURTHER NOTICE that the Objection Deadline is

November 27, 2019 at 4:00 p.m. (Eastern time) and the Hearing on the Motion has been

rescheduled to December 11, 2019 at 11:00 a.m. (Eastern time) before the Honorable Kevin

Gross, United States Bankruptcy Judge, at the United States Bankruptcy Court for the District of

Delaware, 824 North Market Street, 6th Floor, Courtroom No. 3, Wilmington, Delaware 19801.

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN


ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.




-   A copy ofthe Motion, Disclosure Statement, and Plan, as well as any other pleadings filed with the Court in
    these chapter 1 1 cases, can be obtained from the website maintained by the Debtors’ claims and noticing agent,
    Omni Management Group, Inc.(“Omni” ), located at https://cases.omnlagentsolutlons.com/pesholdings2019/
    (the “Case Website”).


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Dated: November 15, 2019        /s/ Peter J. Keane

Wilmington, Delaware            Laura Davis Jones(DE Bar No. 2436)
                                James E. O’Neill(DE Bar No. 4042)
                                Peter J. Keane(DE Bar No. 5503)
                                PACHULSKI STANG ZIEHL & JONES LLP
                                919 North Market Street, 17th Floor
                                P.O. Box 8705
                                Wilmington, Delaware 19899-8705 (Courier 19801)
                                Telephone: (302)652-4100
                                Facsimile:   (302)652-4400
                                Email:       Ijones@pszjlaw.com
                                             joneill@pszjlaw.com
                                             pkeane@pszjlaw.com
                                - and -

                                Edward O. Sassower, P.C.
                                Steven N. Serajeddini (admittedpro hac vice)
                                Matthew C. Fagen (admitted pro hac vice)
                                KIRKLAND & ELLIS LLP
                                KIRKLAND & ELLIS INTERNATIONAL LLP
                                601 Lexington Avenue
                                New York, New York 10022
                                Telephone:    (212)446-4800
                                Facsimile:    (212)446-4900
                                Email:          edward.sassower@kirkland.com
                                                steven.serajeddini@kirkland.com
                                                matthew.fagen@kirkland.com

                                Co-Counsel to the Debtors and Debtors in Possession




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